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                     1   MORGAN, LEWIS & BOCKIUS LLP
                         Mark L. Krotoski, Bar No. 138549
                     2   mark.krotoski@morganlewis.com
                         1400 Page Mill Road
                     3   Palo Alto, CA 94304
                         Tel: +1.650.843.4000
                     4   Fax: +1.650.843.4001
                     5   Attorneys for Defendant
                         MIKLOS DANIEL BRODY
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                     8
                                                       UNITED STATES DISTRICT COURT
                     9
                                                    NORTHERN DISTRICT OF CALIFORNIA
                    10
                                                             SAN FRANCISCO DIVISION
                    11

                    12
                         UNITED STATES OF AMERICA,                            Case No. 21-MJ-70442
                    13
                                                Plaintiff,                    STIPULATION AND ORDER FOR
                    14                                                        OUT OF DISTRICT TRAVEL
                                          vs.
                    15
                         MIKLOS DANIEL BRODY,
                    16                                                        Court: Honorable Sallie Kim
                                                Defendant.                           U.S. Magistrate Judge
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                    20              IT IS HEREBY STIPULATED between Mark L. Krotoski, counsel for defendant Miklos

                    21   Daniel Brody (“Defendant”), and counsel for the United States, Assistant U.S. Attorney Lauren

                    22   Harding, with the concurrence of U.S. Pretrial Services Officer Elba Romero, that the terms of

                    23   Defendant’s pretrial release shall be temporarily modified to allow the Defendant to travel to South

                    24   Lake Tahoe (California and Nevada areas) during April 3 to 6, 2022, provided that the Defendant

                    25   abide by all terms of his release (apart from the modified travel restriction), give his complete

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MORGAN, LEWIS &
                                                                                          STIPULATION AND ORDER FOR OUT OF
 BOCKIUS LLP                                                                                               DISTRICT TRAVEL
 ATTORNEYS AT LAW
  SILICON VALLEY
                                                                                                        CASE NO. 21-MJ-70442
                           Case 3:21-mj-70442-MAG Document 35 Filed 02/28/22 Page 2 of 2



                     1   itinerary and contact information to U.S. Pretrial Services at least two weeks prior to his departure,

                     2   and maintain contact with the U.S. Pretrial Services as may be directed.

                     3   Dated: February 25, 2022                      Respectfully submitted,
                     4
                                                                       STEPHANIE M. HINDS
                     5                                                 Acting United States Attorney

                     6                                                 /s/ Lauren Harding
                                                                       LAUREN HARDING
                     7
                                                                       Assistant United States Attorney
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                     9   Dated: February 25, 2022                      /s/ Mark L. Krotoski
                                                                       MARK L. KROTOSKI
                    10                                                 Counsel for Defendant Miklos Daniel Brody
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                         IT IS SO ORDERED.
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                         DATED: February 28, 2022
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                                                                       ___________________________ __
                    16                                                 HONORABLE SALLIE KIM
                                                                       UNITED STATES MAGISTRATE JUDGE
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MORGAN, LEWIS &
                                                                                          STIPULATION AND ORDER FOR OUT OF
 BOCKIUS LLP                                                               2                               DISTRICT TRAVEL
 ATTORNEYS AT LAW
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                                                                                                        CASE NO. 21-MJ-70442
